Case 1: 03- --cr 10053- .]DT Document 168 Filed 05/17/05 Page 1 of 6 Page 40174
UN|TED STATES D|STRICT COURT
WESTERN D|STRICT OF TENNESSEE
EASTERN DIV|S|ON

UN|TED STATES OF AMER|CA

.v. 03-10053-01-T

 

PH|LL|P JOHNSON
J. Patten Brown FPD
Defense Attorney
200 Jefferson Avenue, Ste. 200
Memphis, TN 38103

 

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |ndictment on January 05, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Offense Count
Title & section Natu_reofM concluded Numberjsj
21 U.S.C. § 846 Conspiracy to Distribute and/or 03/18/2001 1

Possess with intent to Distribute
Cocaine and Marijuana

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count(s) 2, 3, 4 and 5 dismissed on the motion of the United States.

|T 18 FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all finesr restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 12/09/1966 May 13, 2005
Deft’s U.S. Marshal No.: 18713-076

Defendant's N|ailing Address:
1907 East |da Street
Tampa, FL 33610

  

 

A- Q'M¢/
JA D. TODD

Thls document entered on the docket sheet tn compliance F UN|TED STATES D|STRICT JUDGE

with Rule55andlor32(b) FRCrP on __S__)_m_|_o$_ N|ay / 2 l 2005

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tMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 84 Months as to Count 1 of the indictment

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. iV|arshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 years as to Count 1 of the lndictment.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer'.

2. The defendant shall report to the probation officer as directed by the court or probation ofncer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation ocher for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician. and shall submit to periodic urinalysis tests as
directed by the probation oflicer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed, or administered;

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B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation ofhcer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement.

13. if thisjudgment imposes a fine or a restitution obligationl it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADDIT|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program of testing andior treatment for
substance abuse as directed by the Probation Office.

2. The defendant shall assist the Probation Office in the collection of DNA as directed by the
probation officer.

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CR|M|NAL MONETARY PENALT|ES

The defendantshall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ail of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Tota| Fine Tota| Restitution
$100.00

The Special Assessment shall be due immediately
FINE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

UNITED `SETATDISTRICT COUR - WESRNTE D"CTRIT 0 TNNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 168 in
case 1:03-CR-10053 Was distributed by faX, mail, or direct printing on
May ]7, 2005 to the parties listed.

 

 

J. Patten Brown

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Memphis7 TN 38103

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

